     !i
               i
                            Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 1 of 15 PageID #:1



-T                                                                                                  RECEIVED
                                                                  tlnttrl Sraus                           APR   12 2ote   J
                                                                 pigtl: ct Cs,r?
                                                                                                      THOMAS G. BRUTON
                                                                           7                        CLERK, U.S. DISTRICT COURT


                                 Nulr\n{al;1,,                            )

                                               ffe,il,r;t{                ) Casc Ala;
                                                                          )     19cv2590
                                                                          \     Judge Colernan
                   |aoa,ol Dwli,t                                          '    Mrg. Judge Cox
                                                                                PCz
                    Vicfar,'rr Tr1'*,                                     ?
                   , fqsLard' tlol,l                                      ) {*,!y,
                   , 7,f{ FLarris                                         )

                   , Oqntol l*ari,1                                       )
                   '-
                   . lant5            Ui ma5
                                                                          )


                                                             nLKTf        rrl
                                                             C arn?laivtf
                   "'
                   ],---
                   I'


                                            n-ttrll
                   ", )rlfiforr Yu;Itel. Ccn?la*t( oal ; n 5,f(orv Stotd il,t,                        {rlb**7I
                   i.


                   ,.
                   l




                   ,.
                                                             -
              ,T[. .           il
                        L 0u rr't               Ov , ItJrctia,,t    ili nuoirl 7y *luaqr to LlL t],5.c, lt tr3
          o) ,,t,intraiar t\a"t ?la;n+,|{'s                      o\rtSl;tc,timil R,$rc vtcr( vylaru/ vt',d,
                   ,   l
                            frrkolanff     ta/(,vr, Act;n1       ,^ilr,    Calor   o{   pt   law,
                       I




          b)               r\+      Vc4ur is 4(fn?natL rngqftr
                                       t
                                                                               ilrnr oll   acts qnd qfiLlt,Yfrotf
                       ,    otQtrrd        witLrn     r\e Nqrth,n Drtlrict.
                       i1
           Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 2 of 15 PageID #:2




   A+otl t:nrc( ?rlr.vonr Le^c+rt. gulrnlor* Dorirl Drr/r,  ,J    t,/or ac{t,,o
C) ",,tn)lr Cnlnr nf ,./n*, loru a( qr,tt-rill r^t,,nxtl A- *laz Dl/'t *urJ
   €AAttC. .Drlr^l^,n+ Du<bn *noirr-J *', rL, Cn,rtil/a;rrrl
                                                   'r0         ^{ ( o,n,.lttef
D)            oil    lim   ts ,rlr, *l- lnartro. ,D c(ortlant                 frt
                                                                    Vtofrr;a, "v    tt*,n    vr'n .(
        oetino
       "A+           u^olo, Colo/       rt{ c*atc lo,, u,      enu,r,f l;uqon h.     rLz F-rtHC,
       iO*)r** Tro*,^ cltqlkl ln +\0, et^|lai*,! nf oorilud'
      :t     -          U   d             U
       l




e.)   ',"A*    oll*;^rs {,.lr,,,ntf ln*ctn Dclrrrlrrf K:r.Lanr/ Alrl,, v{n( ./c-*tre
           t,arlrr rnlor nl ,fof. lav a< ae+iaq tTlrrllr.ul D;rtctnr af +1,, EntK
           ,Oulrnlor+ )tun*lu luPot^ursrl ,r ,l rilcaarl ilt tLe hmplr,,,r/ o{
                                    I                v         \J

           t^il-ucl

s) At,          il   .finnD, (r,lt\tdn*        h   erc+n   f).lr.nlo* a.ff        PA.,,.-,,r r.-to(
           Ac+iqa     ,nrlr       Color   o{   <*o*t l,r,^,
                                                              ^<
                                                                    hz,r.x:,, D:rrofnr n/ *L-
                  f [,i< Dn]rnl*rr ;, *ht clrtr{ ?rl;rv wfittr./.,Crz(/ a*
           €.,,A*L,
           *lnc Lmttr.              ;n .rLc Larn?io,.,J nf ( nfir/trr r
                       ^rl onrto<cd
                             \rv

/i) A+ ol,( nr*,r, 2.rlt,tanrl,tut+n Drf"^rlr^t l)on;.( l"r/" lJa< @c*inq
     uruttr r-^lor nf, .*r, tr* n, A.l:^rl l);rot.tnr nl *h- tr*tllc"
    iDJo.,l.n^+ l)orlu nlt4atel j.n t\, r^-o{arnrrl ^l vnrl?na$ttt*,
                         JJ



L)         A+nll +;,rar f?rl,rtna{ lnrr,:+o l)r,frrlurrt Tfunrri D;,rto.r t,-/bt
           Ac*inq ,,nAt,r (^l* o{ qffrh lov oc ctclc*nrl n{ rLc Dtlc TL"r
                v
           O.lr^,i-^* z.Art"atA !-,t o^l nr*Lhrl         +V,   ?,n^Cm'n,)   ,[   rnnJrrc*.
                            \IU
    Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 3 of 15 PageID #:3




                                        ?rc{ort nq     'l(
                                                             r*o,L(
                                                   u



4. ?l^,^*,lf ,, a ',1
                  trf,,.et, fo,n +Ltt f-n*r.      ltt< R cP,ols
          lrnru) C^,lrL o^l t+.rl< l:rrlc EnrlrcL (1^ nn olon. + /1.tJ-otl
          ilan+r$t      u),           f,o^ ('*b-Jco,n*,t
                               +ror,<furool,
                                                      lvv
                                                          ratl +rt *Le E/c,w
        rl\r,rLtl Hrnl*L f en+n. do' F nfir-). {n. nl*oaf {{*r, fi.<) r.tzat(,
                                                                             '
        {latn*r# rrnl l^"ll a+ *Lo FllbtL )t<l;+r +L, f,rc-P Pla,h+;tt iA
          {ll{- (*lA:Lf t o,ry,     $tovt(   a{ l9tyt/+ttnr, ol hu"ru, iLtrnaia, ,rUnizzl
          'rllnr.e
                   ulrt+hn,,r)rr^.u    n,) nl      P.r^Lnrnnlt.        u.l,"Lf;;. Trt h
        Aeurl*a, t urf *h S-rn mt Ln,, r* Z.-1, nq< {E-uL^ V, Lau-r;o-*\
                                                 t/
        floin*lf rrn{ on*,'il,rl *o Pl,n<t Lu* +L, Aln^,, nn,o,,,1
        Oeft^rLon*r Lneatr) i n't n . <",Lr-,-,t ^.? n.ul;" ?- +., t.+/
        ?lan{;[l            r, yytrA*n/ tr<+;*tt+,tan ,'rt t/p/at'2,,'t .!
                        ",*,0^),lu*
          +L o lnrt
              Tf ,. r ,ol,'rli{'l ^f f lo,^rtf{', f nnl,'n*nrnr v{a.1 oitcr*:r,tzoL
    it1 /tla*a,L nf, ZUtl wLtn tnnb f^-,ar,t .'rttla, lhil^bu"" o.ubr) o
    ?rYcLn,.^o!   nol   ?.,tr1l,r'tt]n,t't   fnr^ (^nt i      o,.--ouotn,,nr   O.rtt/zr   ry't1r   t-,lrua
    +Llur ?)r,,rat,$ t*rr(JtnQnnr;< ^f caLiaarl,,rto:a ,n-) nr,/o,rr{ flrr.*rtl'o)
    i*nulf o+t (r.leo<c, ?luoun"# J,r]              +akt P<.rrLor?dttc*ilr,1;za+;-.t tL-
                                             ^rr
     tfl rli rt. t(Tardturrtri' Cr n vm,,(,,,rr tl r u*o I t llrrr, +Laf fZt(tirt(
    lao<oi+alrr-dfta/t     *
                        l)"{rn,lon+" n( nP tLr,-,.. t-,,t44ct,/ tn (a
                                                      ,J J
 <rLrn, ,tr artlf:t-c to L.r/ 9lo,nr:lt u,i., L*,,rrol. i^,{rl, ral/rrtt'oq
It,J",,l {,rh f^. hi't <*a{. rlnt trt1pn,,* cn*tt?in*,/- uil,*rr.rt
    *L, Lt,l^tnA t-rtt^rlnn-lt.,rt o."J t'rlr,               ,r^,t0,:<^.n /,,rf a( Wtll ..r
    fLt     1J^r-*r1*ifttir:r1al        ?nlns Vrnr*irt, orrl             Pmcp    lunr, €n          HC
iyyrotn*onl         thur r,aLh/ rht wnourLl CoaJrc+.
i

l
                                                         )
     Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 4 of 15 PageID #:4




                                      /
                                      facts


',   /-, ?la:r+# *a, qrl*,nrrl to thc E,,rtfto ao or about l>->t-a'l
         ofx, Lwu,ng lurt a"g,t,wrd ,f l/o*. iovdliat cd/ lqyra,tar,,l
          6arr"11,


     3,                            wnnllullT l,"yto*d aS a ftnrno;,/
          ?io,nr,F{ osE,rrs 1,, \no5
          s"hizoflr(enic qnd, oollrl,roul Nar G,;[r'1 g, (cosoo of
,         jyTsarrit-l   o   t ilnar wrool ful D;a7nos;5

     l,   Pla;an'l{ v;s\cs         ru irtciulc coaic Co-ntl Pcychrlol;cdl

          Vtt\ouy dsliiranc{ ql           co-"S<,   I e.   lyl       fZcsaw,:el.


     E    Ar q,ll *i^rs Ktletarn Lrrrr;s, ?laurff \,,/as dcrtirl rlr"
          (,5\r al rtcctSs ta rle ca,r,rr, Eltt,ttc 5 o{wn;cl "f lt1:t
                                                                 f


          &iso, n.s5 6 r { c$a ni alcq,lot"lY t raUt tl rt thc lo-, fhi
                                                                     t             s


t'        ,t/lqfttr is 8x;,1 l.ok vi|\ ia q ol,l{rrrnt lawr.'i't- bt tl,t
           frrcrs or, {rli,oat fo. Tlnc itrsfort\ eus(.
 '




     c,   Lrt rLt, )^1   { 4lo,nr, f{"1 or rtsl h e wlts war kt.J ar
                               n
          qy't ogrsnrl h"t, (o,^Wtr1t Can\l* l) r fir,t;or ci'r,z.tqi.
                            fi
            Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 5 of 15 PageID #:5




'


,1           , ?l       r,+;il h ,r rL o { r,rrolt vat,
                       a;

                  ,ln*n *Lr. ,ln,r n{ *l^, hLrt,**rn* -#tu h*rd +ht \/oics
                  r.nrt,t ln,n. TL"rr. t,,/a$ u               oril {t*rl, acc*ilortr in
                                                      ^ol,
                   tl, , o hnrtmr,n* onul il^ t. /! , b {r.c ilrn r a{4a"k-cl. flu;nn'#
    ',
    I




                  q^/i?l n v/ro+a^. fla;na'l[ ,lr{rrJri Lxrcrll ond, rhc /vtalt
                  np-t-ttDnnr Ctt<tolntl quhrrl,c;al in\,tri$ thdf iZcuultc/ 9*rcLcf
                                                           vI
                                                                                                        a


            q, 0,tr(. flah,til               t^./a(    ,Llo ttt         e<ca4r-     tL,        rttt-silence l, c   J,/ ,o
,1t an/ torumrrl his w(^ | wl,ik ,                                    Lr, , 'r/ fir 'nfa;rr'
        ii        n-   n,'/.(
                                 ^{ L.ll. ?lo;^n:il ),,!,n*{lr, *L. o!,o E       Tl,.
                  oLr, non ?nl:rz i**orl;o+.lv at^rt<ilrl Pl,aifi*;€{    S'qlrt orl                    al
                  ,l,J ,0^{ att-/t fa intt/11t at.q*t ?iolr*r#', o.,n/ {rrit /ln+ivts              v
                                                                   \)


            q. gloi^r;$ ,r.":utl                  assicfartr, o{ Ca*rrcl Ul<o JrJ
                                                   i,ncffec*i'tc
                  nr,t ?,nn+t<f n.* a*t.,,nL. +Lr. ,Lrrrrr, ),-rrJ ,-ta ,+Ln:r lntL
                  nf ,,,ntrnr Tr'reveorl lr(enr" .or^ril ,rurhr,l iu hu,,ro Pla;,r*lT
                  Br^tl"), ,/;rh o m utd I iil nrr, n rrl lLn*yt la+o n a i,.a<* u.tt orl

            lO-   Af,nr 4             3i t,^if'.rort     o,yr   a.,.tn*     o1 *i,,rttt /orrrrl ,litL duo*#
                  (L,nwiad ,rto StLfil a{ Paol',o<;t                        n/   {2 Cr-riaus u.ttn-}a/;//rlr;s- Erqtt<
                                U,V
                  r-hooul ?lo;nr:$'i D:ot,r,rv fn Drur orr/uu{ ,n Pr{cLar;c }rt
                             JVJ
                  ,/z,vt r   <(trtn    t^t t*Ln,   ,* frl.ii p,ctttl.t ,tilr, r          *h   ;< F n plr- a,tafsn u r)
                  tn ln^lrl Q/^,n*tl{ ^< 'tl4r,n //- :ll                         u,^,1   /ontzra,-tto A- r1r-tt /
                                                                        T


        '- a            dpcorlo


        ',ll r , t\rt Pn ioc { $ tr, P'r' fi# el/. ,'i.-( N orfrrrrc
        i




        t hx BoJr.lois l.trrr t,rt Cnnn/,.*,-- c),.a,)n-llon tLraqtl
 Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 6 of 15 PageID #:6




 lz,      Avcr tlrc     Jcas, E/41+L 6rqff eanrrivtl        a ,"tuktu/,       ,{     tr,cv51^5

         {r, Lu!;y ?lot,,rq iavolvrtta,ifi oannif-tc/, 71/lort ofrro fAart


         Luv{tttrll b*ry       l*;ldftl tn       t7 (V 1140t ND          IL
, i3     ql ,tll f)r, ',reoSo{ts V4il to        rnaittt,ti{t flo,nX'p{   cod{,rr/,    ,rrn'

         hrd bu4 al;.,bi*t         l    tu b, t/t/rrt"l    ort h;5      't h,"L
                                                                     Rclu"
         ;qt,r(*rl wirtL l\, fLt*^,rtrrlrl              As&*g, ilrnt '{^, P/^,,t${.

  l'1,    t-afisrlvtnt\, anr,Q f lo'rtv,ff v/as {rrl$ ilsr           rotr/ Lr o
         j,aly fo b, no ionTer tt) ,rr{ o{ ;nuairm.tor/              ca,rtals4'26vV


                                                      L, cutto/yr    "(    P/a,ur;H-
                                                                             '*,'rr,,p-


 t, All       /ta*,col Oefer/a,au                lcrVt F/a,ry;ff ;q
                                    "oll"q;veQ
         c,yr.ody ,JacL, *h" {rls, /r*frr15, ,{ Jrra, /Actta//y ,'(
         ort/ /on1(rau; at ,,tct[ ai Qiirtl rh" ;nirSrafio,r Srbrur
         di atj (,*L,tit, P hrld Plo,a1';ffi
 t6,     /lor,ru[{, Fo. rc yce,t, oLiu"ru,{ fu tk" p.feroloaa hld,r,
         h:^ dvt to hil inAllrar:e4 ttatuS" flairtt:{{Z l/ca*p'26,a7 'f-ant
         Q/c*d/f arscrk I t ZL,'rt; {t rhor h;E ;s4;f rdriaq |fe+u;
          it {,'tvcrtr;nr h;t ?-o1rur Toaadr Krlgus* i**,//.,rts /"l"lrl,
          z-b;L, flnor)o, H",Jt        iorl   O;ae.s c-anvo,,!c,l Eu,tt infu + $rl,,r[
          Dct-tfiit,t   f;rrli{ {,, flotnt'{f'   rtnlt, TL, *fPrxol of gygl,t
         Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 7 of 15 PageID #:7



                                         f,nXta"n4'
                    a,nlnnK       z-6;* /nalir, Vlrarif , /lor,                                           I
             o*1,   ,n{rntJ         Ul}cortsfi'lu,fro,ta/ ?racf)cp S. Pofu;zf                 ord
             ?urul,,rc.c       ^*      t{c +hof o rc JoLdrtei*,*'atttl *.nil-
                                      'i4.tr, Eul
             lul +, ila;nr:P{ Lrrrtq "nrfinrl qrt a non*al ta(h't<,iia,tt
             nlrtltt" L*,irt ^, lilrq' r7r c.tmharnS of ofrt             fvlorln/
             tilrnst, Drlrllonr D"rlt n ,llrrori, Lg"r*<r./ u,,/ rr;,{,r/ sarnt

         iq. aLt..-   Jvt onn*;*-+:^u              r[ ftncf';r s      Vrli",:, {     rtnrl Prn.*l,tt/cs
             ^il n*tt ?k;n*:          f{    +*-,   t-,,-a:,t co,nfint/ .t-. ?,*+, 3..[" vtala*rans
             <-oL nAi httga, {^rr/ ;n L;< 'rrtflvn L\chnnd:-o rhnvizl Ave,tiut?
                                                               (or i er/. ; rr:
            ^^rl n*Ltr dor;;:, +L^( a,,c Ar-r-elrab[, ,, o",,/
     t      nt-tau't( n-t- rlnt            C)ovt1 nf o ,nat-,rt*a/ l//-rr<            */uef ,mo/zcf

_
             il,=^*'Ct Jn.^a*r^.,1 l^,,ts nr.f",dl[,- tLn,-,< D/n.'rrt;ll ,< .ilru.,i                     (r,\c
     , *"J rntino, En'*e r-onF:ors ilnmt:fi{ looen n C. </-a.tnq ltr'f
     I




             f/oo.*u       ',.,L,1o (acit-*,/           alnr;{:rt +Lncc uLL rLor"             i.tt'/-/n
                   IJ
            ?rrol,    of       hes<n nrtrartl.


         n. t)onn tn{n,.naTtort nnJ l,-,nltil                   6   /14   ll|    tH r.lltr<   {rn/.rr/
            L^"1,
                    "o fnr       Vln,,+    no a,rtr/ 'l f.rr&f I ap'\           / loiat'tf    wh:r-1,
            'J)
           r,^/nS
                    "i     /y'7,>+),,n*jno      {or*,       lrq L-rr\,uo /lo:rrrll            L^-nJ-
                                        J                                  J



         a]0. fi..tt,/   *hr. {r[*rrn \tptrt
                                      I
                                             flo;nfiff \ilae vJarchr-rrl
              h, v/nt        ttrnrrl S{ ort./ lyt lnfol tllntr<, ),/ nar
                               tAnf
              &^,^, aur:t ,.lnr-^', ^l i3"hantirtr vdf r^ta( <f-j 1/
                                            J
               lZ,.l, as*l.


         A f)cl*,rrlr^+, ,<kr*; ollu *nr,n r*prl il A \n,,-rl ^{ {lrrLn {,^-
                           t
                                                    a




             Qlr,; n +rl
    ii
   Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 8 of 15 PageID #:8




                                                                hrr? Pl oinr;
                 -U uqrLq fuN,r ic thi.ccnn.(+rulrtd
           +Lc ma<tr                                                           Plan*,#f   acys     a{
                                  )                                        J
         ul{ -all}rr<r- n 1           o <l r/.{6   iall

   23.     {lrt^*,lf   iq ha,cn) on Jniw wt+h {rrolnot;, Tarhnn                              *lro
           ntt. dlltl,sslue-. An        fl,,lrihlc ap,LoEioal 14n;rh'l{ v./ar ,4*orbrl
           *^l ii,r*lt
                     vta( ran,?oilt ia Protccf h;s frrrnn. P/o,nn4l
         N{vor ini,rrul ortltae }rot no* rLccivr 4,rytcrttrr.v .nr^/;caf,bnt, ar
                                                      0(
         hrr" gtt,tttr{        +o irtLrr1toqt.-
                                 ",1/rrl

   zu f)olo-lnlt*( Tt t          nrt,A/t ( ,rJ llr,lu ]^l^l fl\.;r*:f,{'c
                                           ?Ln rtl
           fttaYvuetrtr +r"o^ fa ttivhr!,rnut *Ltr lZtnt,r(L fo, pfo.r*-$'r
                                                                               v
   I       (-rlru<t

EJ,,*                        T,*;; ih*-                           t],.,/o rvlrlx lkrl,n o,,/ D:.,a
         ,l;r""*orL u"l, orur-Lirr,rrrrl *i^, ,.n'inrtt.c/ Jt*rrL',, n4
         ?lamf;ff l. t,t-c-,tttAf *o Ar.Llrtao,l,nJ r.nLrir-iott c ?rl;r;a.r
                                             t,
   ,     on& frn, tA.,ao<


   z fi.   All +L?(t- nn^,,1 Dr-lr*l^r*, Ar+rl ;rt Lol-fn,,+L :l/ -til ounl
           n*latr.wtte. ma"l.nf att /ltn+tvcr tut Lriltrq P/nin*:[f inaa/rrctar+./
           tn,lor,rhr,{olse Prr.rr,rtrr. nt ntn*a/ ,llrrr, rtrncl D.,.ie/at'(

   27f^         /4orr,V ^t lntol f,tah (n-vtt-tt Cn,-.^f (ta,,'r€( ,rlo
         n,^t r,,,tnll.r lrLt;rJ Plrr,i.{- { u lctcha+. /) o,,l " {"L;rnul t, utt."

        krir    rr)orl +Lr
                             ^
                                 rrlu^      o,,   rl tr .   b   ,nn,.l   rl o,l ilo* t-ril   z, L-:Lr t- r
       ,/t^ 1ttils ,t )- <v,ar 0.lnl-r n{ ,z ilutol lthrt( +Ln,t' ?ttlr,lrtf
                                                           'fl
       h.O:-rlrl,- t*ra. , ) 1-r rn,*rulrrrlrr) d of    lh rl*.ca-.U
                                                     ^*
      Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 9 of 15 PageID #:9




                                         Courtt Y     folE n{nlso4fitnr
                                                                   ;


                                                      All Dr{e,rl,a,rt/

     i',zi fla,w;[{ inelrPar'tlrts bU ,r(rrr4rg *n,l Jcrs #rrq v,,Laft'n
                                                                       \--
il
;,


t1,Ar atl *imts t+lrvartf hutra fla;nt,$ e,tjays th" KShr
il fo ltberrf oqd d,"r^ftoctrS fi t\" Cu,wflp4y 6{ thqr
ir ltbt rt '1 qq/ anltiflt&ol coq?ir,r,rrcnt
i,

80, rtll ,hc fuanil Dr{crlant?'tril actua( or/ son{trtlcr,ut /oa'ce
il .rril Lwo-1"$t ftnr /laurift{ l,rd fior twut fL* cl,vb
:,
  i Nlrifcriq fi; Cort(,^ory1o4r f n L /iutt</ la{/-1fir;a4 bur
     eiaast fa tx:uly e n{ofa tn plaqS{fu ,nkw{-l cl,rt,tu./
i,
,:       cot*;a.cr4ent,


         o,  tnfo*trq'tiati and btl,rt e ,rU, rce<i'/ti                      {r/r*[   {un,/,5    {*.
         (ro,, rl,4 tt rvtqrtwrnt" ta Pla;nn-ff aor/ rh$ L,/at                        e/tt   I   ruor7
         forror5 rrro, fufr flo,n?;t{ ,nlu*{*lh iucarlcrarul €u#c
         d;J nof Proti& nny qctval turnr*t,nt brcart (la,ltt,# u/ai
         rta{ 5 -P{t t;rr5 {rr" e ryirnfrl ;ilrtsS


5J, f o, [ : lyrrn,
 I
                           ,f t,   o,l   71, o,   ,,*i{{    rlo   s con{trtrol fo & rrt crltl /
il
 i
          insrirufisrl whle sho*try                  'fro   Siytt or Sf,rt/fn,r/ a{ n nzurul
 ir
 li
it       rll   nO( v/lfuoul fq rhriroy,c /!,1"rd,, catio,t,
 l




ti
 i


 tr

li
 i
 ii
  l



 Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 10 of 15 PageID #:10
  l

  ]


  i




  l




 71, f,^r*rrl nl                 ,ln,,n +V"              nr/ orlvcr.a+, L.
                                                       )^,rl.l     ur-*ro^
           gior,ttr{[ -J tn* lA,n ut, fl ,l ,,ast oll ,,,n J D,!r.r/oro,
           ? rlda.4r/         tn o ,tho-, n/ n,r+rlare, ln rrtalnla;n P/atr*,'$
           ,^itlrl rJr- {rl* orr*,n*
                          ,




 iq, TL, )ou f ,-L- rnso*+r Prtu,rt kn.tircs E+rttr<.al rl.;r dvry
      ,ltoln*lr *l,tnt Plr*r{t r,ro, sr,ln;,nilJnrr,nit- t^./,r< +L. r/u'
     , ^rL]^ Plr,,v+ ;l{' r c fi,vt,,rtirrn r,r1+ t^.//r I /r"lrrr} la t/a l; I o./'

     offi r-rl hv ', ulrr. Hr{f.r}'rt .tt( nnrl, r !o. Pl,rt,,t *, #r
                                   U
                                                             d
           t **.,"r1{n+t. ('lroce




 9.\.     C".V;rn0L.rtairr     i< n ,noin(
                                       v
                                             elrnnl( ,a,tt.rttrtl tllrr<c 1+.f i( rt
              '1,(rlr*,  lllnrn +ln,tv (t(r,t\rtr *r),.oun^n fi^ rnutr,rn/ rlac
              cu-,0x)-* ?/o,^r:# /vl\nr'rf tvttr,tr-t,l^, rL cryrl lot,u.t <..L;-oPl.r,o,'r,
      ilrA6(,\)

      ", h,,r vr/o,q m;r,l,vrrorrl, D*lrrl.rr*, Phonr;s N.rl; DuJ;, Tz d.2,,
         nn,lnnolnV,,:oL^,],,1ba^,rL,nn..-^^,1l,n,/^./,,nu                                       I

         krrr,t +La.r Tlowr#* L,\/as ynrsr/,tatytoroo/ orr/ *ltaf k,x
                                                                       d'-
         1' n,lLdt   i*ult t-^* +n *l      tr   /14   HC     vn( i, uol;.!.

2(       nrlr,r)-,,r          a,nt1      Dr.r^^c n.           1-ttrrz-T-rz,u   nf *L,   Dt'l{ -a,rrrr*/

        ^^.t,   o,rtfnrno.nl, r lArtttt (+.vn,             ttnanl ?*rrL're< P^^rzJ,ta ( n-J
         ?ol;";e<      +\t+ l"l          +n     flot^r,f{'s vnlorr!-l rnr*tr,,rrl
        Ca,mnt runlnf"


4 f)"fr^lo^r                  f)n,n;^e   I D'rl,n as orrlnt                    qi.r1t-nr/ Cnunrr[    {^. rL-
 li
        €lvttlc       ,l;,trlt        ,..0),)u,*ol           orl   nn*'C1.,/ L',nlrl;rq Plni,,,r,-f,|',n o

 +-l
                                           es         ;t

 li
 rL
 Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 11 of 15 PageID #:11




3(, grf*n/rnf V;qor;a I^trdrt or+wrl\ ?arf;ct(otd t'? TLr-

:       (la;nfi#t tre,afm,tvvt ftam la w,vh/.w ,fhar Rcyuett {6.


31, D*{*nlrfi Tn\ron +*flo*rl                 l'5s;fiMrfl \6rtrn That th. ka"u,
                                             a-
       slnrrl,/, h*rv.u Lno*o    ,rf       horl o- tu+/ fu knovr Vas arbrfray,
,      cafriorou, *n/ tl{TLonsfifuranal               n l,tt! Ple;rtt;ff iauol,tntv,i/y
       Canni*t<cl,


W, fl6rtr,(t       assurr{   ther ho/        kt   ft,eel,ul Ju"-(rocosf, drt },rilart;e/

       (soganably       dof".lA htWtlf *,+l^rnr ctulrutJ kan* tu
       his assotlq,rlf,

?,{, Oe{enlants garrrel          Honh a*ot             *tf     Plta.r;t dtrcnl7

       Co*{t   rrmt    nt af /lqiu;l{,

+12,   Parrrel l-l^,rfi gsuttrr<,ll    attunl"l flawr{{'t            rnortrlolt vq&t;-Jt


,      wl,/l,'   ,1"   con{lat,rrl
                                      ^i   rv'tty sp*d.wr,+,


t!3, flavtnff         da.l} f,rtumtly 3ub gx{ca/ant plarr,;t' 1,,./F ,n

i,      fhur;s v,,/at it4t;rr,o+cl1   l-ort iU,ot fli;*iff/,1 ,tor M.t(r ric
                                                                                vv
 ,,     in flrt u4urrgr)*v'firaol          con{;rtcnwrnf       A{   Vletn+;$*
Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 12 of 15 PageID #:12
        Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 13 of 15 PageID #:13




                                                                                         ..1
    '
    i                                      ConJQtrac'l           n   Dt(t't,tt cfVtl fl'rdhtr:
                                                   Atl Dcf"nrlo,tts

    ''\tr,            ilr,rr,$ Lrrr lru i,,tenr0nrntt, b, n {r"rn"g *r/                              <or 4,-h
              VcrLrtt,.t fnro enrfilnt )'q'),
                                                J--1

        t\q, 4+
                 ^l n,ali rcl,,naf l'-,crcro f/o,rrr{f d Lu/ *Le e-onstrw"r"/
             (,aL* fn lo, f,t f"o^ {olg, inilnihltmtnt qol *-, {r
                          I
              tra..o,,ntnt.,/t)-          t*nrt rrrcA           tr't ht<   l$or+v l,liil.rx,s Ju.-Prorzrt a( /n*
             \)                                                                      (




        Bo l).f.^Jon* Tnrnan, Dv,rl;n.
                                    t- /
                                         flrar,rs Ho-Ju.
                                                      ['
                                                         onl /ulol;;
                .          J   .n               ''
           eill;r.l+luI oJ i-eltclrv p,aqaq il tn a eqh,,./lr.nt*a
                                   -'
                  rtininfatn ilo;r, hl{,..,}J.J},,n,nru/,;,ttr;rur;o,1
                  t       lnlr.'f,l
                                I
                                    r,      Prr.*,,n<1


         ,t f)Jo^.l,^* f)t-x ,llnrr+l.n nrttrJout --/ vat*"/ r/r.
            r,vll,r,nf..l be tti*1?-Af rn fl?4t,r1*a,\r'r VlAn#{ orr*.rJ
                                          rJ'

l



         -        R-           Lrl* J,'r,,ru,
                                       flh'rt
                      i   nlr{li
                                   "rri
                                                       on   /
                                                      / Dann*r.< on Pla,'r4 h'#
                                                                sub<l*ytti      o.


                  ,fla,r*i F{ rr,tt rvr,t rh" R,rhr ,'o ,*r.1, D,^at..t a r q-
                                                                     U                           J
                   l orr,, Dart w; nh olv, n., nl eo-^ gol




         5'{ All ,o*,,,1 J.lr.,l-r*, urrrn"l +har ?lat"trr{f cd/                                         ruf
                          yunltc fr.nter<c
                                        ' o-      fn,la,t Dr.ulr*,L ar Canl;#h,/,ol1r r!r,aha,+"
                                                                                              V
                                                                            u
                          Pl^rn^n\t 1.,r, J-^ L* toaattan.+tn.r'r !t{lu(
                                                                     rJ
                              Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 14 of 15 PageID #:14




                     i'
                     i,ss
                     Il
                          All rtarnrl D{hndaofs aetia.ns tuncd, il'* E/lHc, q
                     ll ,nenrnl lnsliftttion, irt+o an inni1.ratiart &rettion Ceafe,r,
                     li
                     i.        r            l  r      ,r    r    ,      t  I
                          r',*qla c.ctia^s ebarl:1 uulatus the lau anrl ,lto,ly
                     il                                                                                       6o'15

                     iiitil                   Lc-l onil    *l*ff       aL$LarirY

                     ir

                     lfl: 5($, nNoet of                        +.!r   w*nl dtknloofs a& artft)cJ to        ir''talaltY/
                                      ,                     "        ^ ,           r'\
                '-   iiii
                     l1                       {ro,rt   l^e c6vlfls,nd o{ mlcaaiucr
                      it
                      l;ll
                      i'
                      i.:"
                      I
                                           rz YJa;nrill ry ewitlrd fl f-,t-att-rvc Dama#s ,luc tu rt'
                                                   ...    ,.     -J   '._r_   _.             _
                                                                                                 J
                      li                                                                 u{ fLaf acilon!
                      i.                       ilantao elld tytalLciovt y'la*aru

                                   l
                                   I




                          i.
                      ll
                      ti
                      li
                      i;
                          i
                      lill
           .
           ..             iI,r

                          li
                          t.
                          l'
                          I

                          li
                          iilr
      ..                  I
                          Ilii
                          I
                          i

                          ilir
                          lii'
                          t.
                          tl+.
                              il
                              i1
,,                ,,-l!i
                 '-!r                  +




                              II
                    ll
                 .- 1.
                              il
                              1i
                              ll
      .-        ------l+-
                              li
                              ll
                              t;
                              I'
                              lr
                              ll
     -li                       lr
                               i

                               I

                               l.
    Case: 1:19-cv-02590 Document #: 1 Filed: 04/12/19 Page 15 of 15 PageID #:15




            flo,*;$ p,ayt .th;r (.ov,rl dut-et " j 4*rar )tt h rr
',fauo,           *rd.   ,der thc follo-"ry
I           O lr tla rata,l f i"/3* cnf
.




            b) Cm/onsaro1 ort all ,law       q alr-"/ by /uw
'.Q tunil;rt, CanStS
.




            d) $rY al\er (-,[tl rln,t Cw,rr        4[urut Ju,tf   ,r/   e7vtublc.


    .




    ,.                           ier;{r   cat;an


    ' flu,rr,ff vcr;{;es or? fayr */                fono/ty o{ Pu,i,t,y TLar rh.
    ./t*.               of {nr* arL t,tu{. on/ irreor o),1'rq
                   StarcwtcAry
    |Cortclu|or/ S*ttonortls anl SfatcmtutS raa/t on tr?Qrfiariart ar/
    ',byl,ol are rnol, ,h 3*l {orrL on/ ?lo,rtff brl,nves ly be 1v(tL

        ,




            (t,Pertfdh s'bn ryt,/,,ffi'            f/U'l4/U)-
                                                          tr
